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  5
      Attorneys for Defendant
  6   MORENA MENDOZA-ROMALDO
  7
  8                        UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   UNITED STATES OF AMERICA,                   CASE NO.: 18-MJ-2070-RBB-DMS
 12                      Plaintiff,
 13         v.                                    NOTICE OF APPEARANCE
                                                  AS CO-COUNSEL
 14   MORENA MENDOZA-ROMALDO,
 15                      Defendant.
 16
 17         Pursuant to the CM/ECF procedures in the United States District Court for
 18   the Southern District of California, Roxana Sandoval, Federal Defenders of San
 19   Diego, Inc., hereby gives notice that she is co-counsel in the above-captioned case.
 20
 21                                         Respectfully submitted,
 22
 23    Dated: May 10, 2018                  s/ Roxana Sandoval
                                            Federal Defenders of San Diego, Inc.
 24                                         Attorneys for Defendant
                                            MORENA MENDOZA-ROMALDO
 25                                         Email: Roxana_Sandoval@fd.org
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Case 3:18-mj-02070-RBB-DMS Document 26 Filed 05/10/18 PageID.220 Page 2 of 2



  1                            CERTIFICATE OF SERVICE
  2         Counsel for the Defendant certifies that the foregoing pleading has been
  3   electronically served on the following parties by virtue of their registration with the
  4   CM/ECF system:
  5
  6
  7                                  Davis McEvoy Loop
                                United States Attorney’s Office
  8
  9
 10
 11                                            Respectfully submitted,

 12
 13    Dated: May 10, 2018                     s/ Roxana Sandoval
                                               Federal Defenders of San Diego, Inc.
 14                                            Attorneys for Defendant
                                               MORENA MENDOZA-ROMALDO
 15                                            Email: Roxana_Sandoval@fd.org

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